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                                         EXHIBIT A
                                     Case Numbers

                         Plaintiff                   Civil Action No.
             Antonacci, Heidi                         1:17-cv-0652
             Ball, Rebecca                            1:17-cv-4606
             Berger, Vicki                            1:17-cv-3675
             Covington, Charles                       1:16-cv-0481
             Christ, Ola                              1:17-cv-4698
             Edgerton, Haywood                        1:16-cv-1330
             Figueroa, Johanna                        1:17-cv-4103
             Griffin, Shirley                         1:17-cv-3120
             Harris, Theopolis                        1:17-cv-1306
             Henderson, Timothy                       1:17-cv-0368
             Holloway, Karen                          1:17-cv-4122
             Jeanpierre, Landry                       1:17-cv-0473
             Jefferson, Shanikqua                     1:17-cv-4476
             Lampo, Joseph                            1:17-cv-0965
             Lundy, Melvin                            1:17-cv-3349
             Maxwell, Kevin                           1:17-cv-3471
             Maxwell, Terry                           1:18-cv-1029
             Medina, Juanita                          1:17-cv-4682
             Mohler, Meredith                         1:17-cv-4465
             Moore, Kelvin                            1:17-cv-4735
             Muller, Susi                             1:17-cv-1863
             Myers, Toni                              1:18-cv-0468
             Neilsen, Arleen                          1:17-cv-3474
             Nigh, Elizabeth                          1:16-cv-3341
             Olson, Carolyn                           1:17-cv-2795
             Payne, Shannon                           1:17-cv-3628
             Peterson-Dockett, Whitney                1:16-cv-1172
             Pittman, Craig                           1:17-cv-0651
             Reed, Mark                               1:16-cv-2074
             Requardt, John                           1:17-cv-3018
             Rice, Lewis                              1:17-cv-3496
             Robinson, Angela                         1:16-cv-2909
             Robinson, Leatha                         1:17-cv-2954
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             Rowe, James                       1:17-cv-4268
             Saeed, TaQwa-Hakeem               1:18-cv-0642
             Seifert, John                     1:16-cv-2525
             Simmons, James                    1:17-cv-2567
             Skalley, Tracy                    1:17-cv-0728
             Smallwood, Ronald                 1:17-cv-2014
             Smith, Diane                      1:17-cv-3819
             Wormly, Yolanda                   1:16-cv-1639
             Wright, Robert                    1:17-cv-0671
             Young, Danny                      1:17-cv-4078
             Zobell, Don                       1:17-cv-0171




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